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JAMES DIRKANS, JUDGMENT IN A CIVIL CASE

Plaintiff,
v.
BILL'Y TURNER, et al., CASE NO: 05-2096 Ml/V

Defendants.

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order of Dismissal, Order Certifying Appeal

Not Taken in Good Faith, and Notice of Appellate Filing Fee,
entered June QO, 2005, this case is DISMISSED.

APPROVED :

M/W Lwl

€qq/l>x’ P. MccALLA
ITED sTATEs DISTRICT JUDGE

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J ames Dirkans

SOUTH CENTRAL CORRECTIONAL CENTER
#320684

P.O. Box 279

Clifton7 TN 38425--027

Honorable J on McCalla
US DISTRICT COURT

